UNITED STATES DISTRICT COURT FOR TH
WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

U. Couri
W. D. OF TN. Memphls

TENNESSEE VALLEY AUTHORITY )
)
Plaintiff )
)
v. ) Civil Action No. 05-2416-DV

) (Judge Donald)
CLYDE WASHBURN, JR. )
)
Defendant )

ENTRY OF DEFAULT

Upon the request of the Plaintiff, DEFAULT IS HEREBY ENTERED against
the Defendant, Clyde Washburn, Jr., pursuant to Ruie 55(a) Of the Federal Rules of
Civil Procedure.

In accordance to Rule 4, of the Federal Rules of Civil Procedure, service was
made upon the named Defendant on July 12, 2005. The Defendant has failed to plead
or answer.

For good cause shown, the Coult may set aside this entry for default, pursuant

to Rule 55(c).

Entered this ll day of August, 2005.

 

é/ Clerk

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-024]6 Was distributed by faX, mail, or direct printing on
August 17, 2005 to the parties listed.

ESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

